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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    WOLLMUTH MAHER & DEUTSCH LLP
    Paul R. DeFilippo, Esq.
    500 Fifth Avenue
    New York, New York 10110
    Telephone: (212) 382-3300
    Facsimile: (212) 382-0050
    pdefilippo@wmd-law.com

    JONES DAY
    Gregory M. Gordon, Esq.
    Brad B. Erens, Esq.
    Dan B. Prieto, Esq.
    Amanda Rush, Esq.
    2727 N. Harwood Street
    Dallas, Texas 75201
    Telephone: (214) 220-3939
    Facsimile: (214) 969-5100
    gmgordon@jonesday.com
    bberens@jonesday.com
    dbprieto@jonesday.com
    asrush@jonesday.com
    (Admissions pro hac vice pending)

    PROPOSED ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11
    LTL MANAGEMENT LLC,1                                            Case No.: 23-12825 (MBK)
                                Debtor.
                                                                    Judge: Michael B. Kaplan

             DEBTOR’S APPLICATION PURSUANT TO 28 U.S.C. § 156(c)
          AND 11 U.S.C. § 105(a) FOR ENTRY OF AN ORDER AUTHORIZING
        THE APPOINTMENT OF EPIQ CORPORATE RESTRUCTURING, LLC AS
      CLAIMS AND NOTICING AGENT NUNC PRO TUNC TO THE PETITION DATE

                     The above-captioned debtor (the “Debtor”) moves the Court for the entry of an

order authorizing the appointment of Epiq Corporate Restructuring, LLC (“Epiq”) as claims and

noticing agent nunc pro tunc to the date hereof (the “Petition Date”). In support of this

Application, the Debtor respectfully represents as follows:


1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.


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                                     Jurisdiction and Venue

                 1.    This Court has subject matter jurisdiction to consider this matter pursuant

to 28 U.S.C. §§ 157 and 1334, and the Standing Order of Reference to the Bankruptcy Court

Under Title 11 of the United States District Court for the District of New Jersey, dated

September 18, 2012 (Simandle, C.J.) (the “Standing Order of Reference”). This is a core

proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court pursuant to

28 U.S.C. §§ 1408 and 1409. The Debtor is authorized to continue to manage its property and

operate its business as a debtor in possession pursuant to sections 1107(a) and 1108 of title 11 of

the United States Code (the “Bankruptcy Code”).

                 2.    The statutory predicates for the relief requested herein are section 156(c)

of title 28 of the United States Code, section 105(a) of the Bankruptcy Code and Rule 9013-5 of

the Local Rules of the United States Bankruptcy Court for the District of New Jersey (the “Local

Bankruptcy Rules”).

                                           Background

                 3.    On the Petition Date, the Debtor commenced this reorganization case by

filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

                 4.    The Debtor, a North Carolina limited liability company, is a defendant in

thousands of lawsuits asserting personal injuries allegedly caused by exposure to talc-containing

products. It is the direct parent of Royalty A&M LLC, a North Carolina limited liability

company, which manages a portfolio of royalty revenue streams, including some based on third

party sales of certain products, and will seek opportunities to acquire or finance additional

royalty revenue streams.

                 5.    The Debtor has reached agreement on the material terms of a plan of

reorganization with thousands of talc claimants. That agreement has been memorialized in a

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series of plan support agreements. The Debtor has commenced this chapter 11 case

(the “Chapter 11 Case”) to pursue confirmation of a plan of reorganization that contains the

terms agreed to in the plan support agreements. A comprehensive description of the Debtor, its

history, its assets and liabilities and the events leading to the commencement of the Chapter 11

Case can be found in the declaration of John K. Kim (the “First Day Declaration”), which was

filed contemporaneously herewith and is incorporated herein by reference.

                                              Relief Requested

                 6.       The chapter 11 case will, like the Debtor’s prior chapter 11 case

(the “2021 Chapter 11 Case”), involve many thousands of claimants and other parties in interest

and, thus, likely will impose significant administrative burdens upon the Court and the Office of

the Clerk of the Court (the “Clerk’s Office”). Given the anticipated number of claimants, the

Debtor submits that the appointment of Epiq, as in the 2021 Chapter 11 Case: (a) will (i) relieve

the Debtor, the Court and the Clerk’s Office of substantial administrative burdens and related

costs, (ii) expedite the service of notices and pleadings, (iii) streamline the claims administration

process and (iv) otherwise promote the efficient administration of the Chapter 11 Case; and (b) is

otherwise in the best interests of both the Debtor’s estate and parties in interest.

                 7.       The Debtor, therefore, seeks entry of an order, substantially in the form

submitted herewith, authorizing it to appoint Epiq as claims and noticing agent (“Agent”)2 in this

Chapter 11 Case nunc pro tunc to the Petition Date in accordance with the terms of the

engagement letter between Epiq and Jones Day (on behalf of the Debtor), dated as of

April 4, 2023 (the “Engagement Agreement”), attached hereto as Exhibit A. In support of this




2
        At this time, Epiq’s proposed services do not include balloting and solicitation services. The Debtor
        reserves the right to seek to retain Epiq to provide such services.

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Application, the Debtor submits the Declaration of Kathryn Tran, attached hereto as Exhibit B

(the “Tran Declaration”).

                                      Epiq’s Qualifications

                 8.    Epiq is uniquely situated to serve as claims agent in this Chapter 11 Case

because of its experience serving as claims agent in the 2021 Chapter 11 Case.

                 9.    On October 14, 2021, the Debtor commenced the 2021 Chapter 11 Case

by filing a voluntary petition for relief under title 11 of the United States Code (the “Bankruptcy

Code”). On November 4, 2021, an order was entered in the 2021 Chapter 11 Case authorizing

the Debtor to retain and employ Epiq as its claims and noticing agent. Order Authorizing the

Retention and Employment of Epiq Corp. Restructuring, LLC as Claims, Noticing, and Ballot

Agent, In re LTL Mgmt. LLC, No. 21-30589, Dkt. 320 (Bankr. W.D.N.C. 2021) (the “2021 Epiq

Retention Order”).

                 10.   On January 30, 2023, the United States Court of Appeals for the Third

Circuit issued an opinion and judgment providing that the 2021 Chapter 11 Case should be

dismissed. On March 31, 2023, the mandate was issued. On April 4, 2023, this Court entered an

order (the “Dismissal Order”) dismissing the 2021 Chapter 11 Case.

                 11.   Given Epiq’s retention and work in the 2021 Chapter 11 Case, it is

uniquely well-positioned to provide services efficiently and economically to the Debtor. For

example, in the 2021 Chapter 11 Case, Epiq updated talc claims information, including counsel

information, with respect to the Debtor’s tens of thousands of pending talc claims. Additionally,

given its experience with assisting the Debtor with its schedules of assets and liabilities and

statement of financial affairs (the “Schedules and Statement”) in the 2021 Chapter 11 Case, Epiq

is well-suited to assist the Debtor in preparing its Schedules and Statement in this Chapter 11

Case. As a result, Epiq’s retention will enable the Debtor to avoid the unnecessary expense that

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would result from having another claims and noticing agent familiarize itself with, among other

things, the tens of thousands of creditors and other parties in interest in this Chapter 11 Case.3

                                              Scope of Services

                 12.     The Debtor anticipates that Epiq will perform the following tasks in its

role as Agent (the “Epiq Services”), as well as all quality control relating thereto:

                 (a)     Prepare and serve required notices and documents in this Chapter 11 Case
                         in accordance with the Bankruptcy Code, the Federal Rules of Bankruptcy
                         Procedure, the Local Rules of the United States Bankruptcy Court for the
                         District of New Jersey (“Local Rules”) and any orders of the Court, in the
                         form and manner directed by the Debtor and/or the Court, including:
                         (i) notice of the commencement of this Chapter 11 Case and the initial
                         meeting of creditors under section 341(a) of the Bankruptcy Code;
                         (ii) notice of any claims bar date; (iii) notices of any objections to claims;
                         (iv) notices of any hearings on a disclosure statement and confirmation of
                         the Debtor’s plan of reorganization; and (v) all other notices, orders,
                         pleadings, publications and other documents as the Debtor or the Court
                         may deem necessary or appropriate for an orderly administration of the
                         Chapter 11 Case;

                 (b)     Assist with administrative tasks in the preparation of the Debtor’s
                         Schedules and Statement, including coordinating data from the Debtor and
                         its advisors, creating and maintaining databases for maintenance and
                         formatting of Schedules and Statement data and providing data entry and
                         quality assurance assistance regarding the Schedules and Statement;

                 (c)     Create and maintain electronic databases for creditor/party in interest
                         information provided by the Debtor (e.g., creditor matrix and Schedules
                         and Statement) and creditors/parties in interest (e.g., proofs of
                         claim/interest);

                 (d)     Maintain copies of any proofs of claim and proofs of interest filed (in hard
                         copy and electronic form);

                 (e)     Provide a secure on-line tool through which creditors can file proofs of
                         claim and related documentation, if desired;

                 (f)     Process any proofs of claim/interest submitted;


3
        Additional information regarding Epiq’s qualifications and experience as a claims, noticing and balloting
        agent can be found in Epiq’s retention application filed in the 2021 Chapter 11 Case (the “2021 Epiq
        Retention Application”). In re LTL Management LLC, No. 21-30589, Dkt. 6 ¶¶ 7-8.

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                 (g)   Provide access to the public for examination of copies of proofs of claim
                       or interest without charge during regular business hours;

                 (h)   Maintain the official claims register for the Debtor (the “Claims Register”)
                       on behalf of the Clerk’s Office, including, among other things, the
                       following information for each proof of claim or proof of interest: (i) name
                       and address of the claimant and any agent thereof if the proof of claim or
                       proof of interest was filed by an agent; (ii) date and time received; (iii)
                       claim number assigned and (iv) asserted amount and classification/priority
                       of the claim;

                 (i)   Transmit to the Clerk’s Office a copy of the Claims Register on a monthly
                       basis, unless requested by the Clerk’s Office on a more or less frequent
                       basis or, in the alternative, make available the Claims Register online;

                 (j)   Create and maintain a website at https://dm.epiq11.com/LTL with general
                       case information, key documents, claim search function and mirror of ECF
                       case docket (the “Case Website”);

                 (k)   Implement necessary security measures to ensure the completeness and
                       integrity of the Claims Register;

                 (l)   Record any transfers of claims pursuant to Bankruptcy Rule 3001(e) and
                       provide notice of such transfers as required by Bankruptcy Rule 3001(e);

                 (m)   Maintain an up-to-date mailing list of any and all entities that have filed a
                       proof of claim, proof of interest or notice of appearance, which list shall
                       be available upon request of a party in interest or the Clerk’s Office;

                 (n)   After service of a particular notice—whether by regular mail, overnight or
                       hand delivery, email or facsimile service—file with the Clerk’s Office an
                       affidavit of service that includes a copy of the notice involved, a list of
                       persons to whom the notice was sent and the date and manner of
                       transmission;

                 (o)   Update the claim database to reflect undeliverable or changed addresses;

                 (p)   Coordinate publication of certain notices in periodicals and other media;

                 (q)   Distribute Claim Acknowledgement Cards to any creditor having filed a
                       proof of claim/interest; and

                 (r)   Provide state-of-the-art call center facility and services, including (as
                       needed): (i) create frequently asked questions, call scripts, escalation
                       procedures and call log formats; (ii) record automated messaging;
                       (iii) train call center staff and (iv) maintain and transmit call log to the
                       Debtor and its advisors.


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                 13.   Epiq will follow the notice and claims procedures that: (a) conform to the

guidelines promulgated by the Clerk’s Office and the Judicial Conference of the United States;

(b) conform to the Guidelines Establishing Case Management and Administrative Procedures

for Cases Designated as Complex Chapter 11 Cases; and (c) are established by an order of the

Court.

                                   Professional Compensation

                 14.   The Debtor seeks to retain and employ Epiq in accordance with the terms

of the Engagement Agreement.

                 15.   The Debtor respectfully requests that the undisputed fees and expenses

incurred by Epiq in the performance of the Epiq Services be treated as administrative expenses

of the Debtor’s chapter 11 estate pursuant to 28 U.S.C. § 156(c) and section 503(b)(1)(A) of the

Bankruptcy Code and be paid in the ordinary course of business without further application to or

order of the Court. Epiq’s fees are charged at the rates set forth in the Pricing Schedule attached

to the Engagement Agreement, as they may be adjusted on a yearly basis consistent with the

Engagement Agreement. Epiq also will seek reimbursement of expenses at the rates set forth in

the Pricing Schedule attached to the Engagement Agreement.

                 16.   Epiq agrees to maintain records of all services showing dates, categories

of services, fees charged and expenses incurred, and to serve monthly invoices on (a) the Debtor,

(b) counsel for the Debtor and (c) the United States Trustee for the District of New Jersey

(the “U.S. Trustee”). If any dispute arises relating to the Engagement Agreement or monthly

invoices, the parties will meet and confer in an attempt to resolve the dispute. If a resolution is

not achieved, the parties may request a resolution from the Court.

                 17.   Following the entry of the Dismissal Order and prior to the Petition Date,

the Debtor paid to Epiq $190,000 on account of actual and estimated fees and expenses from

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March 1, 2023 through the Petition Date.4 In addition, as of the Petition Date, Epiq held a

retainer in the amount of $25,000.5 Epiq seeks to continue to hold a retainer up to $25,000 as

contemplated under the Engagement Agreement during the Chapter 11 Case as security for

payment of fees and expenses incurred. Following the termination of the Engagement

Agreement, Epiq will return to the Debtor any amount of the retainer that remains following the

application of the retainer to the payment of unpaid invoices.

                 18.      Under the terms of the Engagement Agreement, the Debtor has agreed to

indemnify, defend and hold harmless Epiq and its affiliates, officers, directors, agents,

employees and consultants, under circumstances arising out of or relating to the Engagement

Agreement or Epiq’s rendering of services pursuant thereto, except in circumstances resulting

solely from Epiq’s gross negligence, willful misconduct, fraud or bad faith. The Debtor believes

that such an indemnification obligation is customary, reasonable and necessary to retain the

services of a claims and noticing agent in the Chapter 11 Case. Nonetheless, Epiq has agreed to

a modification of the indemnification provisions in the Engagement Agreement to reflect the

customary practice in this jurisdiction.




4
        Epiq expects to: (a) complete its reconciliation of prepetition fees and expenses actually incurred for the
        period prior to the Petition Date no later than the deadline set for retained estate professionals to file their
        first interim fee applications in this Chapter 11 Case; (b) make any adjustment to the amount of the retainer,
        as described herein, on or about that date; and (c) disclose such adjustment to the Debtor. If Epiq’s actual
        fees and expenses for the period from March 1, 2023 through the Petition Date are less than $190,000, the
        balance will be added to the retainer, and amounts exceeding $25,000 will be applied to its postpetition fees
        and expenses consistent with any terms relating to the application of retainers in any order establishing
        procedures for interim compensation and reimbursement of expenses of retained professionals; provided
        however, that nothing herein will subject Epiq to any such order. Epiq agrees to waive any actual fees and
        expenses for the period from March 1, 2023 through the Petition Date that exceed the amount paid to Epiq
        prior to the Petition Date. As set forth herein, following such reconciliation, Epiq seeks to hold $25,000 as
        retainer during the Chapter 11 Case.
5
        Pursuant to the 2021 Epiq Retention Order, Epiq was authorized to hold $25,000 as retainer until the
        termination of its engagement by the Debtor in the 2021 Chapter 11 Case. Epiq seeks to continue to hold a
        $25,000 retainer as set forth herein.

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                                    Epiq’s Disinterestedness

                 19.   Although by this Application the Debtor does not propose to employ Epiq

under section 327(a) of the Bankruptcy Code, Epiq nevertheless has reviewed its electronic

database to determine whether it has any relationships with the creditors and parties-in-interest

identified by the Debtor. To the best of the Debtor’s knowledge, information, and belief, and

except as disclosed in the Tran Declaration, Epiq represents that it neither holds nor represents

any interests that are materially adverse to the Debtor’s estate in connection with any matter on

which it will be employed.

                 20.   Moreover, in connection with its appointment as Agent, Epiq represents in

the Tran Declaration, among other things, that:

                 (a)   Epiq is not a creditor of the Debtor;

                 (b)   Epiq will not consider itself employed by the United States government
                       and shall not seek any compensation from the United States government in
                       its capacity as the Agent in the Chapter 11 Case;

                 (c)   By accepting employment in the Chapter 11 Case, Epiq waives any rights
                       to receive compensation from the United States government in connection
                       with the Chapter 11 Case;

                 (d)   In its capacity as the Agent in the Chapter 11 Case, Epiq will not be an
                       agent of the United States and will not act on behalf of the United States;

                 (e)   Epiq will not employ any past or present employee of the Debtor for work
                       that involves the Debtor’s bankruptcy proceeding;

                 (f)   Epiq is a “disinterested person” as that term is defined in section 101(14)
                       of the Bankruptcy Code with respect to the matters upon which it is to be
                       engaged;

                 (g)   In its capacity as Agent in the Chapter 11 Case, Epiq will not intentionally
                       misrepresent any fact to any person;

                 (h)   Epiq shall be under the supervision and control of the Clerk’s Office with
                       respect to the receipt and recordation of claims and claim transfers;



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                 (i)     Epiq will comply with all requests of the Clerk’s office and the guidelines
                         promulgated by the Judicial Conference of the United States for the
                         implementation of 28 U.S.C. § 156(c); and

                 (j)     None of the services provided by Epiq as Agent in the Chapter 11 Case
                         shall be at the expense of the Clerk’s office.

                 21.     Epiq will supplement its disclosure to the Court if any facts or

circumstances are discovered that would require such additional disclosure.

                                      Basis for Relief Requested

                 22.     Section 156(c) of title 28 of the United States Code, which governs the

staffing and expenses of bankruptcy courts, authorizes the Court to use “facilities” or “services”

other than the Clerk’s Office for administration of bankruptcy cases. It states as follows:

                 Any court may utilize facilities or services, either on or off the
                 court’s premises, which pertain to the provision of notices, dockets,
                 calendars, and other administrative information to parties in cases
                 filed under the provisions of title 11, United States Code, where the
                 costs of such facilities or services are paid for out of the assets of the
                 estate and are not charged to the United States. The utilization of
                 such facilities or services shall be subject to such conditions and
                 limitations as the pertinent circuit council may prescribe.

28 U.S.C. § 156(c).

                 23.     Moreover, section 105(a) of the Bankruptcy Code provides that the “court

may issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions” of the Bankruptcy Code. 11 U.S.C. § 105(a). Accordingly, the Court may rely on its

general equitable powers to grant the relief requested herein.

                 24.     The Debtor requests entry of an order authorizing the appointment of Epiq

as its Agent, nunc pro tunc to the Petition Date, the duties of which include assuming full

responsibility for the distribution of notices and the maintenance, processing, and docketing of

the claims register. Such relief is appropriate in light of 28 U.S.C. § 156(c) and in order to

relieve the Court and the Clerk’s Office of the heavy administrative burdens this case stands to

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impose, as noted above. In view of the number of anticipated claimants and the complexity of

the Chapter 11 Case, the Debtor submits that the appointment of an Agent is in the best interests

of the Debtor’s estate, its creditors, and all parties-in-interest.

                            Bankruptcy Rule 6003 Has Been Satisfied

                 25.    Bankruptcy Rule 6003(b) provides that, to the extent relief is necessary to

avoid immediate and irreparable harm, a bankruptcy court may issue an order granting “a motion

to use, sell, lease, or otherwise incur an obligation regarding property of the estate, including a

motion to pay all or part of a claim that arose before the filing of the petition” before twenty-one

(21) days after filing of the petition. Fed. R. Bankr. P. 6003(b). As described above, the

circumstances presented by the Chapter 11 Case necessitate that Epiq immediately commence

work on time-sensitive matters and promptly devote resources to the Debtor’s case. Accordingly,

the Debtor has satisfied the requirements of Bankruptcy Rule 6003.

                           Request for Bankruptcy Rule 6004 Waivers

                 26.    To implement the foregoing successfully, the Debtor requests a waiver of

the notice requirements under Bankruptcy Rule 6004(a) and of the fourteen-day stay imposed by

Bankruptcy Rule 6004(h), to the extent such stay applies.

                                  Waiver of Memorandum of Law

                 27.    The Debtor respectfully requests that the Court waive the requirement to

file a separate memorandum of law pursuant to D.N.J. LBR 9013-1(a)(3) because the legal basis

upon which the Debtor relies on is incorporated herein and the Application does not raise any

novel issues of law.

                                                 Notice

                 28.    This Application has been served on: (a) the U.S. Trustee; (b) the top law

firms representing talc claimants against the Debtor, as identified in the Debtor’s chapter 11

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petition; and (c) counsel to the Debtor’s non-debtor affiliates, Johnson & Johnson Holdco

(NA) Inc. and Johnson & Johnson. In light of the nature of the relief requested herein, the

Debtor respectfully submits that no other or further notice need be provided.

                                         No Prior Request

                 29.    No prior request for the relief sought in this Application has been made to

this or any other Court in connection with this Chapter 11 Case.

                 WHEREFORE, the Debtor respectfully requests that the Court: (i) enter an order,

substantially in the form submitted herewith, granting the relief requested herein; and (ii) grant

such other and further relief to the Debtor as the Court may deem just and proper.




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 Dated: April 4, 2023                          WOLLMUTH MAHER & DEUTSCH LLP

                                               /s/ Paul R. DeFilippo
                                               Paul R. DeFilippo, Esq.
                                               James N. Lawlor, Esq.
                                               Joseph F. Pacelli, Esq. (pro hac vice pending)
                                               500 Fifth Avenue
                                               New York, New York 10110
                                               Telephone: (212) 382-3300
                                               Facsimile: (212) 382-0050
                                               pdefilippo@wmd-law.com
                                               jlawlor@wmd-law.com
                                               jpacelli@wmd-law.com

                                               JONES DAY
                                               Gregory M. Gordon, Esq.
                                               Brad B. Erens, Esq.
                                               Dan B. Prieto, Esq.
                                               Amanda Rush, Esq.
                                               2727 N. Harwood Street
                                               Dallas, Texas 75201
                                               Telephone: (214) 220-3939
                                               Facsimile: (214) 969-5100
                                               gmgordon@jonesday.com
                                               bberens@jonesday.com
                                               dbprieto@jonesday.com
                                               asrush@jonesday.com
                                               (Admissions pro hac vice pending)

                                               PROPOSED ATTORNEYS FOR DEBTOR




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